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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF INDIANA
                                 HAMMOND DIVISION
                                        :
In re:                                  :
                                        :
   Iris D Kelly                         :  Case No.: 19-20053
                                        :  Chapter 7
         Debtor.                        :  Judge James R. Ahler
                                        :  *********************
                                        :


 ORDER ON CREDITOR'S MOTION FOR RELIEF FROM AUTOMATIC STAY AND
 ABANDONMENT OF PROPERTY BECAUSE STATEMENT OF INTENT PROPOSES
 SURRENDER OF PROPERTY AND NOTICE OF OBJECTION DEADLINE WITH 30-
                  DAY WAIVER (FIRST MORTGAGE)

         For good cause shown, Nationstar Mortgage LLC d/b/a Mr. Cooper, its successor and

assigns (hereinafter "Creditor")'s Motion for Relief from Automatic Stay and Abandonment of

Property is hereby granted.

         Creditor filed a motion that requested the Trustee be ordered to abandon his interest in

the real property located at 1810 Westfield Ct, Griffith, IN 46319-2088.

         The objection deadline has passed, and the Trustee has not filed a written objection to the

taking of the proposed action.

         Therefore, it is ORDERED that the Trustee abandon his interest in the real property.

         Creditor's motion also requested relief pursuant to 11 U.S.C. § 362 and § 554 so that it

could accelerate the debt owed by Debtor herein and foreclose its mortgage on real property

located at 1810 Westfield Ct, Griffith, IN 46319-2088 (hereinafter "Real Estate"), and otherwise

pursue Creditor's contractual and state law remedies.

         The objection deadline has passed, and the Debtor has not timely filed a written objection

to the taking of the proposed action.



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            Therefore, pursuant to 11 U.S.C. § 362 and § 554, it is ORDERED that the stay that

     issued in this action is terminated with respect to Creditor, its successors and assigns, and that the

     fourteen (14) day stay of the order imposed by Bankruptcy Rule 4001(a)(3) is waived.

            Creditor is hereby permitted to take any and all actions necessary to accelerate the

     balance due on the obligation, to foreclose its mortgage, to sell the collateral in accordance with

     state law, to apply the net proceeds to this obligation, and to otherwise exercise its contractual

     and state law rights as to the Real Property.

SO ORDERED
         SOthis 4th day of March, 2019.
            ORDERED.

     DATED: _____________________, 2019


                                                        JAMES
                                                          MES R. AHLER, JUDGE
                                                        UNITED
                                                           ITED STATES BANKRUPTCY COURT
                                                                                     CO
                                                        Northern District of Indiana




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